Case 18-12009-KHK           Doc 28      Filed 10/01/18 Entered 10/01/18 10:13:51        Desc Main
                                        Document     Page 1 of 4


                           UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division

In re:                            )
                                  )
PATRICK E. McCANN,                )             Case No. 18-12009-KHK
                                  )             Chapter 13
      Debtor.                     )
________________________


                    OBJECTION TO CHAPTER 13 PLAN, NOTICE
              OF OBJECTION AND NOTICE OF HEARING ON OBJECTION

         Saddler Oaks Cluster Association (“Association”), by counsel, states as follows for its

Objection to the Chapter 13 Plan of Debtor Patrick E. McCann (“Debtor”), filed on

August 24, 2018 (“Plan”) [Docket No. 23].

         1.      The Debtor filed his Chapter 13 bankruptcy petition on June 7, 2018 (“Petition”).

The Association is a creditor of the Debtor.

         2.      The Debtor owns the property located at 2226 Gunsmith Square, Reston, Virginia

(“Property”). The Property is located within the boundaries of the Association and is subject to

Association assessments. The Debtor is indebted to the Association for unpaid assessments and

fees (“Assessments”) related to the Property.

         3.      The Association filed Proof of Claim No.1 in Debtor’s bankruptcy case in the

amount of $2,268.89 ($2,237.39 secured, $31.50 unsecured) relating to Assessments owed prior

to the filing of the Petition.


____________________________________
MERCERTRIGIANI LLP
Michael L. Zupan, Esquire VSB No. 24962
David S. Mercer, Esquire VSB No. 13323
112 South Alfred Street
Alexandria, Virginia 22314
Phone: (703) 837-5002
Fax: (703 837-5012
michael.zupan@mercertrigiani.com
Counsel for Sadler Oaks Cluster Association
Case 18-12009-KHK        Doc 28    Filed 10/01/18 Entered 10/01/18 10:13:51              Desc Main
                                   Document     Page 2 of 4


        4.     Debtor intends to retain the Property and lists the Association’s Assessments as a

regular contract payment in Section 6A of the Plan.

        5.     Debtor has not paid the $315.00 quarterly assessment that accrued on July 1,

2018 (“Post-Petition Assessment”). A late fee in the amount of $31.50 accrued to the account on

July 31, 2018. Another assessment accrued on October 1, 2018 in the amount of $315.00. The

unpaid post-petition balance owed is $661.50.

        6.      Debtor should be required to pay $661.50 to the Association to bring his account

current and pay future assessments on time and in full.

        7.     Because Debtor has failed to pay Post-Petition Assessments, Debtor’s Plan is not

feasible.

        WHEREFORE, the Association respectfully requests that this Court deny confirmation of

the Chapter 13 Plan.



                                              Notice

        Saddler Oaks Cluster Association filed this Objection to Confirmation of the Chapter 13
Plan filed on August 24, 2018.

     YOUR RIGHTS MAY BE AFFECTED. YOU SHOULD READ THESE PAPERS
CAREFULLY AND DISCUSS THEM WITH YOUR ATTORNEY, IF YOU HAVE ONE
IN THIS BANKRUPTCY CASE. (IF YOU DO NOT HAVE AN ATTORNEY, YOU MAY
WISH TO CONSULT ONE).

       If you do not wish the Court to grant the relief sought in the Objection, or if you want the
        Court to consider your views on the Objection, then on or before seven (7) days prior to
        the hearing date, you or your attorney must: File with the Court a written response with
        supporting memorandum as required by Local Bankruptcy Rule 9013-1 (H). Unless a
        written response and supporting memorandum are filed and served within seven (7) days
        of the hearing date noted below, the Court may deem any opposition waived, that the
        Objection is conceded, and issue an Order granting the relief requested without further
        notice or hearing.




                                                 2
Case 18-12009-KHK        Doc 28    Filed 10/01/18 Entered 10/01/18 10:13:51                Desc Main
                                   Document     Page 3 of 4


       If you mail your response to the Court for filing, you must mail it early enough so
        the Court will receive it on or before the date referenced above. You must mail a
        copy to the persons listed below.

                                   Michael L. Zupan, Esquire
                                   MERCERTRIGIANI LLP
                                    112 South Alfred Street
                                   Alexandria, Virginia 22314

                              Thomas P. Gorman, Chapter 13 Trustee
                               300 N. Washington Street, Suite 400
                                     Alexandria, VA 22314

                                      John P. Fitzgerald, III
                              Office of the U.S. Trustee - Region 4
                               115 South Union Street, Room 210
                                     Alexandria, VA 22314

                                        Clerk of Court
                  United States Bankruptcy Court - Eastern District of Virginia
                                     200 S. Washington St.
                                  Alexandria, VA 22314-5405

       Attend a hearing to be held on October 11, 2018, at 9:30 a.m. in Judge Kindred’s
        Courtroom at The United States Bankruptcy Court, 200 South Washington Street,
        Alexandria, Virginia. If no timely response has been filed opposing the relief requested,
        the Court may grant the relief without holding a hearing.

       If you or your attorney do not take these steps, the Court may decide that you do not
oppose the relief sought in the Objection and may enter an Order sustaining the Objection.

                                             SADDLER OAKS CLUSTER ASSOCIATION

                                             By Counsel

Date Filed: October 1, 2018                  MERCERTRIGIANI LLP
                                             By: /s/ Michael L. Zupan
                                             Michael L. Zupan, Esquire VSB No. 24962
                                             David S. Mercer, Esquire VSB No. 13323
                                             112 South Alfred Street
                                             Alexandria, Virginia 22314
                                             Phone: (703) 837-5002
                                             Fax: (703 837-5012
                                             michael.zupan@mercertrigiani.com
                                             Counsel for Sadler Oaks Cluster Association




                                                3
Case 18-12009-KHK        Doc 28    Filed 10/01/18 Entered 10/01/18 10:13:51             Desc Main
                                   Document     Page 4 of 4


                                             CERTIFICATE

        I certify that a copy of the foregoing Objection, Notice of Objection and Hearing was
electronically transmitted via the Court’s ECF system and/or mailed by first class mail this 1st
day of October 2018, to the following:

                                       Patrick E. McCann
                                     2226 Gunsmith Square
                                     Reston, Virginia 20191

                                  Tommy Andrews, Jr., Esquire
                                   Tommy Andrews, Jr. P.C.
                                    122 North Alfred Street
                                   Alexandria, Virginia 22314

                             Thomas P. Gorman, Chapter 13 Trustee
                             300 North Washington Street, Suite 400
                                  Alexandria, Virginia 22314

                                      John P. Fitzgerald, III
                              Office of the U.S. Trustee - Region 4
                               115 South Union Street, Room 210
                                     Alexandria, VA 22314

                                                             /s/ Michael L. Zupan


161031




                                                4
